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                    Exhibit 13
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                                                                                Jeffrey H. Blum


d~sh.                                                                           Executive Vice President,
                                                                                External & Legislative Affairs
                                                                                Jeffrey.Blum@dish.com
                                                                                (202) 463-3703

April 29, 2022

VIA ELECTRONIC FILING
Marlene H. Dortch, Secretary
Federal Communications Commission
45 L Street NE
Washington, DC 20554

Re:    Ex Parte Presentation in Expanding Flexible Use of the 12.2-12.7 GHz Band, WT Docket No.
       20-443

Dear Ms. Dortch:
        Pursuant to Section 1.1206 of the Commission’s rules, 47 C.F.R. § 1.1206, DISH Network
Corporation (“DISH”) submits this letter summarizing a meeting on April 27, 2022 with Commissioner
Brendan Carr and Greg Watson, Policy Advisor for Commissioner Carr. Present on behalf of DISH
were Charlie Ergen, Chairman and Jeff Blum, Executive Vice President, External & Legislative
Affairs.

         During the meeting, DISH urged the Commission to adopt rules in the above-captioned
proceeding to maximize use of the 12.2-12.7 GHz band (the “12 GHz band”). The 12 GHz band
represents 500 megahertz of spectrum that is well-suited for terrestrial, two-way 5G use cases, while
still protecting satellite operations. The Commission should act expeditiously to unlock the power of
5G-ready spectrum in this band.


                                                    /s/ Jeffrey H. Blum
                                                    Jeffrey H. Blum
cc:    Greg Watson




                   1110 Vermont Avenue NW, Suite 450, Washington, D.C. 20005
                                                                                         Exhibit 13 - Page 001
